                                               3:19-cr-30067-RM-TSH # 84      Page 1 of 8
                                                                                                                  E-FILED
                                                                                       Tuesday, 01 June, 2021 05:16:22 PM
                                                                                             Clerk, U.S. District Court, ILCD
                                             IN THE UNITED STATES DISTRICT COURT
                                                 CENTRAL DISTRICT OF ILLINOIS
                                                     SPRINGFIELD DIVISION

                            UNITED STATES OF AMERICA,

                                Plaintiff,

                                      v.                                    No.: 19-CR-30067

                            TODD SHEFFLER,
                            WILLIE HEDDEN, and
                            ALEX BANTA

                                Defendant.


                                  DEFENDANT BANTA’S MOTION IN LIMINE NO. 6
                                          FOR ENTRY OF AN ORDER
                                   PROTECTING DEFENDANT BANTA’S RIGHTS
                                    PURSUANT TO BRUTON v. UNITED STATES

                                Defendant ALEX BANTA, by his attorneys, moves this Court moves

                        this Court pursuant to Federal Rule of Criminal Procedure 16(d), Federal

                        Rules of Evidence 104, the inherent authority of this Court to manage

                        the trial in this case,1 and pursuant to Bruton v. United States, 391 U.S.


                        1“Although the Federal Rules of Evidence do not explicitly authorize in limine
                        rulings, the practice has developed pursuant to the district court's inherent authority
                        to manage the course of trials.” Luce v. U.S., 469 U.S. 38, 41 n.4 (1984). Motions
                        in limine permit the district court to eliminate in advance of trial evidence “that
                        clearly ought not be presented to the jury,” because it is “inadmissible for any
                        purpose,” Jonasson v. Lutheran Child and Family Services, 115 F.3d 436, 440 (7th
                        Cir. 1997); accord U.S. v. Tokash, 282 F.3d 962, 968 (7th Cir. 2002).

FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                                  Page 1 of 8
                                           3:19-cr-30067-RM-TSH # 84   Page 2 of 8




                        123 (1968), Richardson v. Marsh, 481 U.S. 200 (1987) and Gray v.

                        Maryland, 523 U.S. 185 (1998), for entry of an order:

                              (a)   requiring an appropriate redaction of any document that

                        references any statements made by co-defendant Todd Sheffler that

                        incriminates Defendant Banta that the Government intends to refer to

                        or use at trial; and

                              (b)   barring the Government or any witness for the Government

                        from making any statement at trial or introducing any evidence at trial

                        that is an admission of any kind by Todd Sheffler, where the statement

                        or evidence incriminates Defendant Banta.

                             In support of this Motion, Defendant Banta states as follows:

                             1.     Defendant Banta stands indicted on the following serious

                    charges, all arising from an incident at a state correctional center where

                    an inmate died from injuries alleged to have been sustained in that

                    incident: Count I – Conspiracy to Deprive Civil Rights; Count II –

                    Deprivation of Civil Rights; Count 3 – Conspiracy to Engage in Misleading

                    Conduct; Count 9 – Obstruction – Falsification of Document; and Count

                    10 – Obstruction – Misleading Conduct. Counts 4, 5, 6, 7, and 8, directed

                    to the co-defendants make similar serious allegations of obstruction.

FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                             Page 2 of 8
                                          3:19-cr-30067-RM-TSH # 84   Page 3 of 8




                             2.    It is the contention of the Government that the use of force by

                    Defendant Banta and by the other two co-defendants against the inmate

                    on May 17, 2018, in the vestibule area leading to the correctional center’s

                    segregation unit, caused the inmate’s death.       See the Indictment (d/e #1)

                    at paragraphs 1-8.

                             3.    As part of its pretrial disclosures, the Government has

                    disclosed the following documents related to statements made by co-

                    defendant Todd Sheffler1:

                             A.    An FBI 302 report of an interview of Todd Sheffler on March

                    4, 2019 (bates ##0249-0252); and

                             B.    An FBI 302 report of an interview of Todd Sheffler on March

                    5, 2019 (bates ##0258-0260)

                             4.    The two March 2019 interview reports indicate that they were

                    given under a limited use immunity agreement. Defendant Banta will

                    make available to the Court full copies of the referenced

                    documents upon request.            In an October 2, 2020 phone conference



                        1
                         The Government also disclosed an FBI 302 report of an interview of Todd
                        Sheffler on February 26, 2019 (bates ##0233-0234), however, nothing in
                        this statement incriminates Defendant Banta.

FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                            Page 3 of 8
                                       3:19-cr-30067-RM-TSH # 84      Page 4 of 8




                    with Government’s counsel, the undersigned was advised that the

                    Government would not be using any of Sheffler’s statements in its case

                    against Defendant Banta.

                          C.    On May 23, 2019, subsequent to Sheffler giving his March

                    2019 interviews, Sheffler was administered a polygraph examination, the

                    report of which the Government disclosed (bates ## 0313-0315).

                    Defendant Banta will make available to the Court a copy of the

                    referenced document upon request.              The Government also disclosed

                    audio tapes of the polygraph examination of Todd Sheffler taken on May

                    23, 2019. The report of examination, and numerous statements made by

                    the FBI examiner to Sheffler during the polygraph examination, indicate

                    that Government has informed Sheffler that he had lied in his interviews

                    with the FBI and at the polygraph examination. The report of the

                    examination indicates that, following the examination, Sheffler made a

                    statement that incriminated Defendant Banta, namely that in the foyer

                    of the segregation unit and before inmate Earvin was released to the

                    segregation unit, Sheffer claims that “out of the corner of his eye, he saw

                    Banta jump in the air, but did not see where he landed when they were in

                    the foyer before releasing Earvin to the Segregation Unit”.

FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                         Page 4 of 8
                                        3:19-cr-30067-RM-TSH # 84   Page 5 of 8




                            5.   Given these circumstances, the Government may be taking

                    the position that the use immunity is no longer valid and Sheffler’s

                    statements in the two March 2019 interviews and during the polygraph

                    examination could be used at trial.

                            6.   If presented at trial, Sheffler makes statements that clearly

                    implicate Defendant Banta in the criminal activity for which Defendant

                    Banta stands charged in this case.

                            7.   Bruton v. United States, 391 U.S. 123 (1968), held that a

                    defendant’s confrontation clause rights are violated when a non-testifying

                    codefendant’s confession naming the defendant as a participant in the

                    crime is introduced at their joint trial, even if the jury is instructed to

                    consider the confession only against the defendant. See also Richardson

                    v. Marsh, 481 U.S. 200, 201-02 (1987) (so stating the rule).

                            8.   Later cases modified Bruton and held that the confrontation

                    clause is not violated by the admission of a non-testifying codefendant’s

                    confession if:

                        •   a proper limiting instruction is given and
                        •   the confession is redacted to eliminate not only the defendant’s
                            name but also any reference to his or her existence.



FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                          Page 5 of 8
                                          3:19-cr-30067-RM-TSH # 84   Page 6 of 8




                        even if other evidence links the defendant to the crime. Richardson, 481

                        U.S. at 208, 211; see also Gray v. Maryland, 523 U.S. 185, 189-91 (1998)

                        As state by the Seventh Circuit Court of Appeals: "only those statements

                        that 'expressly implicate' the defendant or are 'powerfully incriminating'

                        trigger Bruton[.]" United States v. Green, 648 F.3d 569, 576 (7th Cir.

                        2011) (quoting Marsh, 481 U.S. at 208).

                             9.    The appropriate inquiry, according to United States v.

                    Mansoori, 304 F.3d 635, 663 (7th Cir. 2002), is whether, “ ‘despite

                    redaction, [the statement] obviously refer directly to . . . the defendant,

                    and which involve inferences that a jury ordinarily could make

                    immediately[,]’ Gray, 523 U.S. at 196, or whether the statements

                    incriminate the defendant only indirectly and ‘when linked with evidence

                    introduced later at trial[.]’ Marsh, 481 U.S. at 208…”

                             10.   Sheffler clear made statements that directly reference

                    Defendant Banta, clearly incriminate Defendant Banta or link him to the

                    charged crime. Richardson, 481 U.S. at 208.

                             11.   As redaction is the appropriate remedy, short of a severance,

                        to be sufficient any redaction must eliminate the defendant’s name as

                        well as all references to the defendant’s existence. Richardson, 481 U.S.

FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                            Page 6 of 8
                                           3:19-cr-30067-RM-TSH # 84   Page 7 of 8




                        at 211. Replacing the defendant’s name with a blank space or the word

                        “deleted” does not constitute a sufficient redaction. Gray, 523 U.S. at 192-

                        97.

                              Wherefore, Defendant ALEX BANTA prays that this Court enter

                        an order as follows:

                              A.   Barring the Government or any witness for the Government

                    from referring to, mentioning, or giving testimony about any statements

                    that Todd Sheffler made that implicate Defendant Banta in the crimes

                    charged.

                              B.   Barring the Government from introducing at trial any

                    documentary, audio, or video evidence that contain or refer to statements

                    given or made by Todd Sheffler that incriminate Defendant Banta in the

                    crimes charged.

                                                                  ALEX BANTA, Defendant,


                                                              By:_/s/Stanley N. Wasser ________
                                                                Stanley N. Wasser, #2947307
                                                                One of His Attorneys
                                                                FeldmanWasser
                                                                1307 South Seventh Street
                                                                Springfield, IL 62703
                                                                217-544-3403
                                                                swasser@feldman-wasser.com

FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                             Page 7 of 8
                                         3:19-cr-30067-RM-TSH # 84   Page 8 of 8




                                           CERTIFICATE OF SERVICE

                              I hereby certify that on June 1, 2021, I electronically filed the
                        foregoing with the Clerk of the Court using the CM/ECF system which
                        will send notification of such filing to the following:

                                  Timothy A Bass         tim.bass@usdoj.gov

                                  William L Vig          bill@vig-law.com

                                  Mark Wycoff           mark@wycofflaw.com

                                  James Elmore          elmoreandreid@sbcglobal.net

                        and I hereby certify that I have mailed by United States Postal Service
                        the document to the following non-CM/ECF participants:

                                  Not Applicable




                                                            By:_/s/Stanley N. Wasser ________
                                                              Stanley N. Wasser, #2947307
                                                              One of His Attorneys
                                                              FeldmanWasser
                                                              1307 South Seventh Street
                                                              Springfield, IL 62703
                                                              217-544-3403
                                                              swasser@feldman-wasser.com




FeldmanWasser
1307 S. Seventh St.
Post Office Box 2418
Springfield, IL 62705
217/544-3403                                           Page 8 of 8
